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                                                                                      FEB 18 2021
                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                                    Danville Division

MELVIN CLARK, et als.,                  )
                                        )
          Plaintiffs,                   )
v.                                      )
                                        )                     Case No. 4:20-cv-00063
STANLEY FURNITURE COMPANY, LLC, et als. )
                                        )
                                        )
          Defendants.                   )

                               AGREED PROTECTIVE ORDER

         Upon the parties’ request for a Protective Order, pursuant to Rule 26(c) of the Federal

 Rules of Civil Procedure, with regard to the copying, release, use of, and testimony regarding

 certain confidential, private, and personal information, records and documentation, and the

 agreement of the parties, as evidenced by the electronic signatures of their respective counsel to

 this Protective Order, and finding that there is good cause to do so, this Court hereby ORDERS:

         1.      Those documents considered confidential shall be designated as such by placing

 the label “CONFIDENTIAL,” or its equivalent, upon the document prior to or at the time of

 disclosure. Documents so designated shall be treated as confidential and shall be treated in

 accordance with the further provisions of this Protective Order.

         2.      Confidential documents and the information contained in them may be used only

 for the purpose of this litigation, and for no other purpose. Under no circumstances, except those

 specifically provided for in this Protective Oder, or any subsequent order or written or recorded

 stipulation of counsel for the parties, shall confidential documents or the information contained in

 them be given, shown, made available to or communicated to anyone other than the following:




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                 a.     Court and Court personnel;

                 b.     Counsel for the identified parties to this litigation, including staff

                        employees of such counsel as needed in the prosecution or defense of this

                        litigation;

                 c.     Identified parties to this litigation;

                 d.     Court reporters and videographers who record depositions or other

                        testimony in this litigation;

                 e.     Witnesses, as necessary to the litigation of the claims asserted and

                        defenses raised in this case; and

                 f.     third-party consultants and independent experts to whom it is necessary that

                        the confidential documents or information be disclosed for the purpose of

                        assisting counsel in this litigation. The following guidelines shall apply to

                        disclosure within this subparagraph (f) category of persons: each such

                        person or entity shall receive a copy of this Protective Order and agree to be

                        bound by this Court’s Protective Order.

         3.      Prior to disclosure of Confidential material to any person pursuant to paragraphs

 2(e) and 2(f), counsel shall inform each such recipient that the material is confidential and may

 not be disclosed or used except as provided in this Protective Order. Also, prior to disclosure of

 any confidential material, the recipient shall read this Protective Order and sign a copy of the

 Confidentiality Agreement attached hereto as Exhibit A and thereby become subject to this

 Protective Order. A copy of the signed Confidentiality Agreement shall be retained by counsel

 making the disclosure.




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         4.      The parties may object in good faith to the designation of confidentiality. Any such

 objection shall be in writing and sent to the party making the confidentiality designation, and

 include identification of the documents to which the objection is directed and the grounds for the

 objection. The parties shall have no fewer than ten (10) days from receipt of the written objection

 to seek an informal resolution of the dispute, and any party may thereafter apply to the Court for

 a ruling on the treatment of the documents and the parties shall maintain the confidentiality of the

 documents unless the Court enters an Order removing the confidential designation.

         5.      This order does not automatically seal court records in this case or apply to the

 disclosure of confidential discovery material at trial. A party shall comply with Local Rule 9

 when seeking to file documents under seal. However, prior to filing a Motion to Seal, the parties

 should confer and agree to appropriate redactions of the material, as an alternative to asking the

 court to seal entire documents.

         6.      With respect to deposition or hearing testimony, any party may designate sworn

 testimony, a transcript, audio or video recording in this litigation, or any portion thereof, as

 confidential within fourteen (14) days from receipt of such sworn testimony, transcript, audio or

 video recording.

         7.      Nothing in this Protective Order shall prevent any party from using confidential

 document at the trial of this action. Before commencement of the trial, the parties shall discuss

 how confidential documents shall be used and apprise the Court of any issues in that regard.




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 Confidential documents that are not admitted into evidence shall continue to retain the protections

 of confidentiality set out in this Protective Order.

         8.      Nothing in the Protective Order shall constitute any agreement by any party to

 produce documents or information in discovery not otherwise agreed upon or required by the

 Federal Rules of Civil Procedure or this Court, any waiver by any party or person of any right to

 object or seek further protection with respect to discovery in this litigation, any waiver by any

 party of any claim of privilege or immunity with respect to any document, information, or

 testimony, or any waiver of the right to object to the admissibility of documents or information.

         9.      In the event materials are produced which a party believes should have been, but

 were not, designated as “CONFIDENTIAL,” such party may designate such material as

 “CONFIDENTIAL” by notifying counsel for all parties of this designation as soon as possible.

 Upon receipt of such notification, all parties shall treat such materials as so-designated, and

 attempt to recall all materials distributed in any way that would have been inconsistent with the

 terms of this Order had such documents been so-designated to begin with.

         10.     Upon termination of this litigation, all documents designated as confidential,

 including in compilations, digests, or nonexact form, shall be returned to the producing party or

 disposed of in a manner mutually agreed to by the parties. Counsel of record for the parties may

 retain their file copies of all court filings, deposition or hearing transcripts and exhibits, and

 correspondence provided that counsel continues to treat all designated documents and information

 in the manner set out in this Protective Order. Termination of this litigation shall not relieve the

 parties or their counsel of the obligation of maintaining the confidentiality and protection of

 designated documents and information, and this Court shall retain jurisdiction to enforce and/or

 modify this Protective Order.


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                                          Entered: February 18, 2021


                                          Robert S. Ballou
                                          Robert S. Ballou
                                          United States Magistrate Judge




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                                          EXHIBIT A

          By signing this Confidentiality Agreement, Exhibit A to the Agreed Protective Order

  between the parties, I hereby recognize and acknowledge that I am subject to and bound by

  the terms of the Agreed Protective Order. I acknowledge that I understand the terms of the

  agreed Protective Order and the conditions imposed on me by the Agreed Protective Order,

  and that I am signing this document of my own free will, voluntarily, and without any form

  of duress.



  Name:
  Signature:
  Date:




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